         Case 1:18-cv-12063-JPC-SN Document 58 Filed 10/16/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      10/16/20



MILTON SIMON,

                                            Plaintiff,
                                                                      18-CV-12063 (JPC)(SN)
                          -against-
                                                                               ORDER

C.O. JOHN DOE, et al.,

                                            Defendants.

-----------------------------------------------------------------X


SARAH NETBURN, United States Magistrate Judge:

        In order to better accommodate Sing Sing Correctional Facility’s schedule, the telephone

conference currently scheduled for Tuesday, October 20, 2020, at 11:00 a.m. is

RESCHEDULED to 2:00 p.m. that same day. At that time, the parties shall call the Court’s

dedicated conference line at (877) 402-9757 and enter Access Code 7938632 #.

        IT IS HEREBY ORDERED that the Warden or other official in charge of the Sing Sing

Correctional Facility produce Milton Simon, Inmate No. 17-A-5211, on Tuesday, October 20,

2020, no later than 2:00 p.m., to a suitable location within the Sing Sing Correctional Facility

that is equipped with a telephone, for the purpose of participating by telephone in a conference

with the Court and defense counsel.

        Defense counsel must: (1) send this Order to the Warden immediately; (2) contact the

Sing Sing Correctional Facility to arrange the call and determine the telephone number at which

the plaintiff will be reachable at the above time and date; and (3) telephone the Court with the

plaintiff on the line at the time and date of the conference.
     Case 1:18-cv-12063-JPC-SN Document 58 Filed 10/16/20 Page 2 of 2




    The Clerk of Court is respectfully directed to mail a copy of this Order to Plaintiff.

SO ORDERED.




DATED:     October 16, 2020
           New York, New York




                                              2
